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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA



SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                       Plaintiff,               )
                                                )    C.A. No. 20-cv-92-CAB-LL
       v.                                       )
                                                )
UNITED PARCEL SERVICE GENERAL                   )
SERVICES CO.,                                   )
                                                )
                       Defendant.               )
                                                )



   PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
              UNITED PARCEL SERVICE GENERAL SERVICES CO.

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby provides notice that it dismisses WITHOUT prejudice all claims

by Plaintiff against Defendant United Parcel Service General Services Co. Each party shall bear its

own costs, expenses, and attorneys’ fees.


Dated: March 6, 2020                           Respectfully submitted,

                                                          Kirk J. Anderson
                                                     /s/_________________________
                                                     Kirk J. Anderson (SBN 289043)
                                                     Budo Law P.C.
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                                                     Attorney(s) for Plaintiff Symbology
                                                     Innovations, LLC


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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2020, I electronically filed the above documents with the

Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                    /s/ Kirk J. Anderson
                                                    Kirk J. Anderson




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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
